       Case 6:08-cr-10106-JTM         Document 339        Filed 04/08/09     Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                      Plaintiff,

              vs.                                   Case No. 08-10106-04,06,09,10,17,21,24,28

ISIDRO HERNANDEZ,
MICHAEL PLESS,
GUADALUPE ANDRADE,
RONALD COOK,
DEANDRE GILKEY,
PASCAUL VILLA,
RYAN LAMBERT, and
COLBY BARRON,

                      Defendants.


                                   MEMORANDUM AND ORDER

       This is a multi-defendant case, which has been declared complex. Presently before the

court are Pless, Hernandez and Villa’s motions for a James hearing (Dkt. Nos. 260, 268 and

274). Andrade, Barron, Cook, Gilkey, Hernandez, Lambert and Pless filed general joinder

motions (Dkt. Nos. 261, 267, 269, 277, 278, 301 and 323) and are included in this order.

       The motions are granted. The court will notify the parties of the date for the James

hearing.

       IT IS SO ORDERED this 7th day of April, 2009.



                                                            s/ J. Thomas Marten
                                                           J. THOMAS MARTEN, JUDGE
